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The following constitutes the ruling of the court and has the force and effect therein described.


Signed September 17, 2018
                                            ____________________________
                                            United States Bankruptcy Judge
_____________________________________________________________________




                                       IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE NORTHERN DISTRICT OF TEXAS
                                                 FORT WORTH DIVISION

                                                                  §
IN RE:                                                            §                     CASE NUMBER: 15-43524-MXM
LINDA ISH                                                         §
                                                                  §                     CHAPTER 13
                                                                  §
                                                                  §                     JUDGE MARK X MULLIN


                                             ORDER APPROVING MODIFIED PLAN


AT FORT WORTH IN SAID DISTRICT:

On this day came on for consideration the "Modification of Plan After Confirmation" filed August 21 , 2018. The Court finds that notice
was and is appropriate under the circumstances, and that the Modification should be approved subject to the following conditons, if any:

IT IS THEREFORE ORDERED that the Modified Plan filed August 21 , 2018, be and the same is hereby approved, subject to the
following conditions, if any:
All other proposed plan modification changes remain the same .
IT IS FURTHER ORDERED that 30 days written notice to the debtor, debtor's counsel, the Chapter 13 Trustee, and all creditors
adversely affected by such modification and opportunity for hearing, is appropriate under the circumstances .
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                                     # # # End of Order # # #
